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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                               BILLINGS DIVISION



  UNITED STATES OF AMERICA,
                                                  CR 15-128-BLG-SPW
                       Plaintiff,

  vs.                                            ORDER


  MAYNARD PAUL CROOKED ARM,

                       Defendant.


        For the reasons stated on the record, Maynard Paul Crooked Arm is hereby

released from the custody ofthe U.S. Marshals Service.

        DATED this 6^'^ day of November, 2020.



                                            SUSAN P. WATTERS
                                             U.S. DISTRICT JUDGE
